«> Santander

Consumer USA
P.O. Box 961245 Fort Worth, TX 76161-1245
Account Number: Primary Name: REBECCA L HORVATH
4/16/2024 $35,313.40 $33,746.42 $1,351.98 $195.00 $20.00
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s¥-1 Flat]
7/14/2023 $-780.06 $0.00 $-780.06 $0.00 $0.00 $33,746.42

System allocated payment
WebPay - ACH (no fee)

6/27/2023 $39.00 $0.00 $0.00 $39.00 $0.00 $33,746.42

Late charge assessment
System Generated Transaction

5/15/2023 $-1,560.12 $-1,069.55 $-490.57 $0.00 $0.00 $33,746.42

System allocated payment
WebPay - ACH (no fee)

4/14/2023 $-780.06 $-175.70 $-604.36 $0.00 $0.00 $34,815.97

System allocated payment
WebPay - ACH (no fee)

3/7/2023 $-780.06 $-63.07 $-716.99 $0.00 $0.00 $34,991.67

System allocated payment
WebPay - Pinless Debit (no fee)

2/27/2023 $39.00 $0.00 $0.00 $39.00 $0.00 $35,054.74

Late charge assessment
System Generated Transaction

1/21/2023 $-1,560.12 $-373.75 $-1,186.37 $0.00 $0.00 $35,054.74

System allocated payment
WebPay - ACH (no fee)

12/21/2022 $-780.06 $0.00 $-780.06 $0.00 $0.00 $35,428.49

System allocated payment

WebPay - ACH (no fee) EXHIBIT

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PaymentHistory 01/2024
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SFE Tia)

11/8/2022 $780.06 $5.25 $774.81 $0.00 $0.00 $35,428.49

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Reversal of system allocated payment
Return - No Account

11/8/2022 $20.00 $0.00 $0.00 $0.00 $20.00 $35,423.24

Miscellaneous fee asessment
Return - No Account

11/8/2022 $-780.06 $-5.25 $-774.81 $0.00 $0.00 $35,423.24

System allocated payment
WebPay - ACH (no fee)

10/27/2022 $39.00 $0.00 $0.00 $39.00 $0.00 $35,428.49

Late charge assessment
System Generated Transaction

9/25/2022 $-780.06 $0.00 $-780.06 $0.00 $0.00 $35,428.49

System allocated payment
WebPay - ACH (no fee)

8/27/2022 $39.00 $0.00 $0.00 $39.00 $0.00 $35,428.49

Late charge assessment
System Generated Transaction

8/12/2022 $-780.06 $0.00 $-780.06 $0.00 $0.00 $35,428.49

System allocated payment
WebPay - ACH (no fee)

7/27/2022 $39.00 $0.00 $0.00 $39.00 $0.00 $35,428.49

Late charge assessment
System Generated Transaction

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